         Case 1:17-cv-02458-TSC Document 71 Filed 04/25/19 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                             )
NATIONAL WOMEN’S LAW CENTER, )
et al.,                      )
                             )
            Plaintiffs,      )
                             )
        v.                   )                       Civil Action No. 17-cv-2458 (TSC)
                             )
                             )
OFFICE OF MANAGEMENT AND     )
BUDGET, et al.,              )
                             )
                             )
            Defendants.      )
                             )

                                                ORDER
        Based upon the post-summary judgment filings, the March 19, 2019 status conference,
the April 16, 2019 hearing, the post-hearing summations, and the entire record herein, and for the
reasons stated on the record on April 25, 2019, the court hereby issues the following declaratory
and injunctive relief. It is hereby
       ORDERED and DECLARED that the court’s summary judgment opinion and order,
ECF Nos. 45, 46, require that Defendant EEOC collect EEO-1 Component 2 pay data for
calendar years 2017 and 2018. It is
       FURTHER ORDERED that in lieu of collection of Component 2 data for calendar year
2017, EEOC may satisfy the court’s Order requiring two years of data by collecting EEO-1
Component 2 data for 2019 during the 2020 EEO-1 reporting period. If EEOC determines to
exercise the option to collect EEO-1 Component 2 data for 2019 instead of 2017, it must notify
the court and Plaintiffs of that decision by May 3, 2019. It is
        FURTHER ORDERED that Defendant Office of Management and Budget’s August 29,
2017 stay of its approval of the revised EEO-1 form tolled the three-year period of that approval
for the duration of the stay, which lasted 553 days. Accordingly, the court DECLARES that
barring further interruptions of the approval or extensions, the Paperwork Reduction Act
approval for the revised EEO-1 form including Component 2 pay data, OMB Control No. 3046-
0007, shall expire no later than April 5, 2021. It is
        FURTHER ORDERED that EEOC must immediately take all steps necessary to
complete the EEO-1 Component 2 data collections for calendar years 2017 and 2018 by
September 30, 2019. If EEOC exercises its option to collect EEO-1 Component 2 data for 2019
in lieu of 2017, that collection must occur in the 2020 EEO-1 reporting period. It is

                                           Page 1 of 2
         Case 1:17-cv-02458-TSC Document 71 Filed 04/25/19 Page 2 of 2



         FURTHER ORDERED that by April 29, 2019, EEOC must issue a statement on its
website and submit the same for publication in the Federal Register notifying EEO-1 filers that
they should prepare to submit Component 2 data no later than September 30, 2019. EEOC must
alert filers if it has decided by April 29, 2019 whether to collect 2017 or 2019 data. If EEOC has
not decided by April 29, 2019 whether to collect 2017 or 2019 data, it must issue a statement of
its decision on its website and submit the same for publication in the Federal Register by May 3,
2019. At minimum, on April 29, 2019, EEOC must issue a statement on its website and submit
the same for publication in the Federal Register notifying EEO-1 filers that they will be
submitting 2018 Component 2 data collection for calendar year 2018 no later than September 30,
2019. It is
        FURTHER ORDERED that beginning on May 3, 2019 and continuing every 21 days
thereafter, EEOC must provide reports to Plaintiffs and the court of all steps taken to implement
the EEO-1 Component 2 data collections since the prior report, 1 all steps to be taken during the
ensuing three-week period, and indicating whether EEOC is on track to complete the
collection(s) by September 30, 2019. It is
        FURTHER ORDERED that the EEO-1 Component 2 data collection(s) will not be
deemed complete, for the purpose of this Order, until the percentage of EEO-1 reporters that
have submitted their required EEO-1 Component 2 reports equals or exceeds the mean
percentage of EEO-1 reporters that actually submitted EEO-1 reports in each of the past four
reporting years. It is
       FURTHER ORDERED that the court will retain jurisdiction over this matter for the
purposes of enforcing the March 4, 2019 summary judgment opinion and order as well as this
Order.
SO ORDERED.


Date: April 25, 2019

                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge




1
 The May 3, 2019 report shall include notice of all steps taken to implement the EEO-1
Component 2 data collections since March 4, 2019.
                                           Page 2 of 2
